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                                                                           U.S. DISTRICT COURT
                                                                               N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION

STACY GREEN,                          )
                                      )
      Plaintiff,                      )
                                      )
v.                                    ) Case No.: 1:17-CV-1453-VEH
                                      )
NAVIENT SOLUTIONS, LLC,               )
                                      )
      Defendant.                      )


                               FINAL ORDER

      This case comes before the Court on Defendant Navient Solutions, LLC,’s

Motion for Summary Judgment (doc. 30) (the “Motion”) filed on August 28, 2018.

For the reasons stated in the Memorandum Opinion filed contemporaneously

herewith, it is hereby ORDERED, ADJUDGED, and DECREED that the Motion

is GRANTED and this case is DISMISSED WITH PREJUDICE.

      DONE and ORDERED this the 29th day of November, 2018.




                                          VIRGINIA EMERSON HOPKINS
                                          Senior United States District Judge
